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                                                                              ner Clerk of Court Appendix A
                                                                Nathan Ochs      •

                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION
                                                 §

Valerie Prevost                                  §
         Plaintiff                               §
vs.                                              §       CIVIL ACTION NO.- - - - - -
                                                 §

City of Houston                                  §
         Defendant                               §


                       EMPLOYMENT DISCRIMINATION COMPLAINT


1. This action is brought under Title VII of the Civil Rights Act of 1964 for employment

      Americans with disabilities act Amendments Act of 2008(ADAA) as amended: Age 63 in violation of

      Age Discrimination in Employment Act of 1967(ADEA)as amended and Religion Christian in

      Violation of Title VII of the Civil RirhtsAct of 1964as amended discrimination.

      Jurisdiction is conferred by Title 42 United States Code, Section§ 2000e-5.


2. The Plaintiff is:     Valerie Prevost
Address:                 13538 Forest Gully
                         Houston Texas 77067
County of Residence: Harris County


2. The defendant is: The City of Houston-Legal Department Labor and Employment
Address:               901 Bagby
                       Houston, Texas 77002




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D Check here if there are additional defendants. List them on a separate sheet of paper with their
   complete addresses.


   4. Valerie Prevost has attached to this complciint a copy of the charges filed on December 22,

   2022, with the Equal Opportunity Commission. (a copy is attached)


   5. On July 24, 2023, Valerie Prevost received a Notice of Right to Sue letter issued by the Equal

   Employment Opportunity Commission; a copy is attached.


   6. Because of Valerie Prevost's: (a) Disabilities (b) Age (c) Religion (d) Retaliation (d)


   7. When and how the City of Houston has discriminated against Valerie Prevost:

        (a)The discrimination started from January 2021 to August 31, 2022, and I was forced to retire. The

        City of Houston is fully aware of my disability as my accommodation is on the file of my disabilities.

        The City of Houston has a regular policy 100-4 in place to have any employees who work at this

        building be dropped off in front of the building as long as a request was made and approved. I

        complied and filed my request for accommodation with the City of Houston for 6 years it was

        approved. Suddenly, I was told by Allied Security I could no longer be dropped off at the front and

        forced to be dropped off at the gates and walk to the building. The City of Houston already knew my

        condition with my Dr. Certification of my Disability. (b) I had an incident and fell because of this

        decision.   I filed a report with the City of Houston, and nothing was done to correct or make

        appropriate changes. (c) I informed the supervisor manager, Deputy Director, and OIG of

        discrimination. I was told to complete a medical questionnaire and other employees didn't have to

        fill out one, and this requirement is not in the policy. ; I knew that was not required since this was a

        regular policy. I had approval and informed the City of Houston of prior approval and present

        approval. To prevent further injury to myself and because the City of Houston did nothing to correct



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    this situation. l further experienced (c) I was forced to resign due to unsafe working conditions, (d)

    age discrimination- failure to interview/promotion on a job I was already doing;,(e) religious

    discrimination was written up for saying, Jesus Christ, (f) Health and Safety Environment,

    isolated separately from my peers/ leaking roof for the unsafe environment which caused me

    to fall again as a disabled employee. The fall and injury were never reported. (g)

    retaliation/harassment; deleted government emails and documents due to disability and age.

    Denial of Gate access was a smaller picture of the bigger problem of discrimination. The City of

    Houston created an unbearable condition forcing me to walk as a targeted protected class to suffer

    the hostile environment in which my work was intolerable.

8. Valerie Prevost is seeking a court order requiring the City of Houston to provide additional

assistance, including injunctions, to safeguard the rights of all disabled employees. This

assistance includes training for all management staff and updated internal policies to comply

with federal anti-disability discrimination laws. In addition, Valerie is requesting mandatory

training on disability accommodation and discrimination laws for all management employees to

prevent any future violations. She is also seeking compensation amounting to $150,000 for the

City of Houston's refusal to accommodate workers under their regular policy, $260,000 for lost

wages, and $200,000 for harassment, retaliation, and court fees.




Valerie Prevost, Plaintiff
Address: 13538 Forest Gully, Houston Texas 77067 Telephone: 832 297-9379
Email address: vprevostl@yahoo.com




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        U.S. EQUAL EMPLOYl\lJENT OPPORTUNITY COl\'11\fiS~1-0N
                                                                                       Houston District Offi,e
                                                                                    1919 Smith Street, 6th Floor
                                                                                     •     Houston. TX 77002
                                                                                                (346) 327-7700
                                                                                       Website: W'\l.'W.re'le.i?.11\'


                       DISMISSAL AND NOTICE OF RIGHTS
                   (This Notice replaces EEOC FORMS 161, 161-A & 161.;B)

                                       Issued On: 07/24/2023
To: Ms. Valerie S. Prevost
    13538 Forest Gully
    Houston, TX 77061
Charge No: 460-2022-06413
EEOC Representative and email:       GERARD LADERA
                                     Federal Investigator
                                     gerardJadera@eeoc.gov


                                   DISMISSAL OF CHARGE
The EEOC has granted your request for a Notice of Right to Sue, and more than 180 days have
passed since the filing of this charge.
The EEOC is terminating its processing of this charge.

                             NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal ia,v in federal
or state court,. yow- lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of lhe date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court wi$_in 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)                                         •
If you file a ·lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 460-2022-064 I 3.

                                               On behalf of the Commission,

                                              Digitally Signed By:Rayfonl O. Irun
                                              07/24121P..3
                                               Rayford 0. Irvin
                                               District Director
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 Cc:
Amber M Simpson
900 BAGBY ST FL 3
Houston, TX 77002

Deidra Norris Sullivan
City of Houston Legal Department - Labor and Employment
POBOX368
Houston. TX 77001



Please retain this notice for your records.
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 Endo.sure with EEOC Notice of Closure and Righ~~ (01/ZZ)



"Regarded as" covera~e
An individual can meet tlle definition of disability if an employment action was taken because
of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
leave. termination, exclusion for fail~ t9 111eet a qualification standard. harassment, or denial of
any other term, condition. or privilege of employment).
     13' "Regard~d as"· coverage under the ADAAA no longer requires that an impairnient be
          substantially limiting, or that the employer perceives the impairment to be substantially
          limiting.
     Cf) The employer has a defense against a "regarded as" claim only when the impainnent a(
          issue is objectively both transitory (lasting or expected to last six months or less) and
          minor.
     (1) A person is not able to bring a failure to accommodate claim if the individual is covered
         only under the "regarded as" definition of"disability".
Note: Altliouglz tlze amended ADA states that tlze definition of d_isph{lity ''shall be construed
broadly" and "'should not demand e:..'te11sive analysis, " some courts requ;,;e specificity in the
complaint explaining how an impaim1ent substantially limits amajor life activity or what facts
i.J1dicate the challenged employment action was because of the impairment. Beyond the initial
pleading stage, some courts will require specific ei,idence to establish disability. For
moreinformation, consult the amended regulations and appendix, ~ well as explanatory
publications, available at httu://v::ww.eeoc.govflaws/types/disability remilations.cfin.
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 Enclosure with EEOC Notice ofClo:rurc and Rights (OJ 122)



 You may request the charge file up to 90 days after recen,;ng this Notice ofRigl~t to Sue. After the
 90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
 provide a copy of the court complaint to EEOC.
 For more information on submitting FOIA Requests and Section 83 Requests, go to:
 https://wwv,1.ecoc. 2:ov/eeocifoia!iudcx.cfin.

     NOTICE OF RIGHTS UNDER THE ADA Ai'1ENDMENTS ACT OF 2008 (ADAAA)
 The ADA was amended, effective January i, 2009, to broaden the definitions of disability to make
 it easier for individuals to be covered under the ADAJADAAA. A disability is still defined as (I)
 a physical or mental impairment that substantially limits one or more major life activities (actual
 disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
 disability. However, these terms are redefined, and it is easier to be covered under the new law.
 If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
 this information with your attorney and suggest that he or she consult the amended regulations and
 appendix, and other ADA related publications, available at~
 httn://www.eeoc.rrov/laws/tvoes/disability regu!ations.cfin.
 "Actual" disability or a "record of" a rus~biijcy
 ff you are pursuing a failure to accommodate claim you must meet the standards for either ''actual"
 or "record of' a disability:
     C'-' The limitations from the impairment no longer must be severe or significant for tl1e
           impairment to be considered substantially limiting.
     ~ In addition to      activities such as perfo~g man,ual tasks, walking, seeing, hearing,
           speaking, breathing, learning, thinking, concentrating, reading, bending, and
           communicating (more examples at 29 C.F.R. § 1630.2(0), "major me activities" now
           include the operation of major bodiiy functions, such as: functions of the immune
           system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
          bowel, bladder, neurologii;al, brain, respiratory, circulatory, cardiovascular, endocrine,
          ·hcmic, lymphatic, muscu1oskeletai, •and reproductive functions; or the operation of an
          individual organ within a body system.
     ~ Only one major life activity need be substantially limited.

     ~ Except for ordinary eyeglasses or contact lenses, the beneficial effects of '"mitigating
          measures" (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)
          are not considered in determining if the impairment substantially limits a major life
          activit"f.
    (i) An impairment that is ~•episodic" (e.g., epilepsy, depression, multiple sclerosis) or "in
        remission" (e.g., cancer) is a disability if it would be substantiaJly limiting when active.
     Cf; An impainnent may be substantially limiting even though it lasts or is expected to ·Jast
          fewer than six months.
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Enclosure "ith EEOC Notice ofcto,1.1re and Rights (01/22)



                               INFORMATION RELATED TO FILING SPIT
                              UNDER THE LAWS ENFORCED BY THE.EEOC
  (This biformation relates to filing suit in Federal or State court under Federal law. ffyou also
 plan to sue claiming violations ofState law, please be aware that time limits may be shorter ana
               other provisions ofState law may be different than those described below.)

IMPORTANT TIME L!MITS-90 DAVS TO FILE A LAWSUIT
If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a recon:l of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or enve!Qpe).
If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint in
court within 2 years (3 years for willful violations) of the date you did not receive equal pay. This
time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title VU, the
ADA, GlNA, the ADEA, or the PWFA referred to above. Therefore, if you also plan to sue under
Title VII, the ADA, GINA, the ADEA or the PWFA, in addition to suing on the EPA claim, your
lawsuit must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

Your .lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after taiking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://\vww.eeoc.gov/empiovees/lawsuit.cfm.
ATTORNEY REPRESENTATION

For information aboutlocating an attorney to represent you, go to:
https://wv.fw.ceoc.z.ov/empioyccs/Iawsuit.cfm.
In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financial1y unable to afford an attorney.

How TO REQUEST YOUR CHARGE Frr.E AND 90-DAY TIME LlMIT FOR REQUESTS
There are two ways to request a charge file: l) a FOlA Request or 2) a Section 83 request. You may
request your charge file under either or both procedures. EEOC can generally respond to Section 83
requests more promptly than FOIA requests.
Since a lawsuit must be filed within 90 days of this notice, please submit :your request for the charge
file promptly to allow sufficient time for EEOC to respond and for your review. Submit a signed
written request stating it is a "FOIA Request" or a "Section 83 Request'' for Charge Number 460-
2022-06413 to the District Director at Rayford 0. Irvin, 1919 Smith Street 6th Floor
Houston. TX 77002.
You can also make a FOIA request online at httos://ceoc.arkcase.com/foia/portalllogin.
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      Ms. Valerie S. Prevost                                                                                   <.                                     (832) 297-9379                                            1960
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      Houston, TX 77067                                                                                                                                                                                                              ·,
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       On or about August 3 l. 2022, I was fo.M to TClire.          Resporukn! is fully av.-:ue of my disllbility as my ~ o n is on file. There is a
       policy (policy 100-4} in plm:etorun-c employees dropped off in fumtofthe buildmgao;Joog.sthe requestwasmooeand approved. f complied and
       also fikd my aa:ommodalion with Respondent. Suddenly, I v.-as 1old by Allied.Security i could no longer-be droppcl offat the fumt and was forced
       to be dropped off at the g:iws and walk to me bni!iiing. I had an incidcn1 and fell. I :fileda n...,xmwilhR~ mid nothing was done to correct
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       Respondent did nolhlng to correct Ibis mistake, 1 was fon:cd to resign_ I believe that 1 was relalizle:i =d discriminated against because of my
       Disability, in violation of!h.: Americans with Disabilities Act Aflll;ildments Act of2008 {ADAAA), as amended; Age (63), in violation of Age
       Discrirnin:ilion in E.-np!oymem Ad. of 1967 (AOEA}~ as wnl!llded; and Religion {Christi:m),, in ,iolatiun oITitle VIT ofthe Civil Rights Act of 1964.
       as amended.


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